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17                          UNITED STATES DISTRICT COURT
18                         CENTRAL DISTRICT OF CALIFORNIA
                                 SOUTHERN DIVISION
19
20
21     JOHN C. EASTMAN                    Case No. 8:22-cv-00099-DOC-DFM
22                 Plaintiff,
23     vs.
24
       BENNIE G. THOMPSON, et al.,
25
                   Defendants.
26
27
28
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 1      PLAINTIFF’S MOTION FOR EXTENSION OF TIME AND RENEWED
 2                      REQUEST FOR DISCOVERY
 3
                 Plaintiff hereby submits the following request for extension of time to file
 4
 5 updated privilege log and renewed request for discovery.:
 6 REQUEST FOR BRIEF EXTENSION OF TIME TO FILE REVISED
 7
     PRIVILEGE LOG
 8
 9     1. The congressional defendants maintain objections to 721 documents for which
10
          Dr. Eastman has claimed privilege or work production protection (2,945
11
          pages)(“the disputed documents”).
12
13     2. After doing a preliminary review of the remaining disputed documents, Plaintiff
14
          believes the disputes can be further narrowed.
15
       3. For certain documents, Plaintiff may be able unilaterally to withdraw the privilege
16

17        claim. For other documents, undersigned counsel may be able to offer a limited
18
          attorney proffer to the congressional defendants in hopes they may reconsider
19
          their privilege challenges. There may also be documents Plaintiff could disclose
20
21        subject to a protective order.
22
       4. Undersigned counsel has discussed these possibilities for further narrowing of the
23
24
          privilege log with counsel for the congressional defendants. The congressional

25        defendants’ take no position on Plaintiff’s request for an extension of time to
26
          complete the privilege log.
27
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 1    5. Plaintiff requests that the deadline for filing a joint consolidated privilege log be
 2
         extended to Thursday May 12 at 4pm PDT to allow the parties to have further
 3
 4       discussions.
 5
     RENEWED REQUEST FOR DISCOVERY
 6
      1. Following preliminary review of the disputed documents, Plaintiff hereby renews
 7

 8       his request for limited discovery of the defendants.
 9
      2. Pursuant to Rule 26(j), Plaintiff has conferred with all defendants but was unable
10
         to secure an agreement for discovery with any defendant.
11
12    3. Of the 721 documents still in dispute, the congressional defendants have retained
13
         their objection that the privileges Dr. Eastman has asserted were waived by what
14
15
         it continues to assert was “unauthorized” use of Chapman University’s email

16       system for all but three of those documents. Plaintiff submits that a limited
17
         number of requests for admission, interrogatories, and requests for documents
18
19       submitted to Chapman University will put to rest the congressional defendants’

20       continued objection on this score.
21
      4. The congressional defendants have also raised the possibility of the crime-fraud
22
23       exception to privilege claims with respect to 135 of the remaining 721 documents

24       in dispute.
25
      5. In its May 6 notice, the congressional defendants asserted that discovery was
26
27       inappropriate because Plaintiff is in the best position to present evidence to rebut
28       the assertion that his legal advice was used to further a crime or fraud. ECF. 336
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 1       at 3 (citing Court order at ECF 182 at 2). But this cannot include the privileged
 2
         material itself, lest the privilege be destroyed in the effort to preserve it. See,
 3
 4       United States v. Zolin, 491 U.S. 554, 572 (1989)(“Before engaging in in camera
 5
         review to determine the applicability of the crime-fraud exception, the judge
 6
         should require a showing of a factual basis adequate to support a good faith belief
 7

 8       by a reasonable person that in camera review of the materials may reveal
 9
         evidence to establish the claim that the crime-fraud exception applies”).
10
      6. Moreover, the crime-fraud analysis focuses on the client’s use of attorney advice.
11
12       In re Grand Jury Investigation, 810 F.3d 1110, 1113 (9th Cir. 2016). The Select
13
         Committee is in possession of vastly more evidence on the activities of former
14
15
         President Trump in the 2020 election than Dr. Eastman or any other private

16       citizen. The Select Committee is manifestly in the “best position” to provide
17
         evidence relevant to the crime-fraud questions.
18
19    7. Finally, as this Court held (subsequent to the order on which the congressional

20       defendants relied), “[t]he party seeking disclosure must prove the crime-fraud
21
         exception applies by a preponderance of the evidence.” Order Re Privilege, ECF
22
23       260 at 30 (citing In re Napster, Inc,, Copyright Litig., 479 F.3d 1078, 1094-95 (9th

24       cir. 2007), abrogated on other grounds by Mohawk Indus., Inc. v. Carpenter, 558
25
         U.S. 100 (2009) and Fed. R. Evid. 104(a)). If, as Plaintiff has good reason to
26
27       believe, the Select Committee is in possession of evidence that directly contradicts
28       its assertion of the crime-fraud exception, it cannot meet the “preponderance of the
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 1         evidence” standard by cherry-picking the evidence that it presents to this
 2
           Court. The key issue is whether former President Trump acted with “corrupt
 3
 4         intent” in reciting claims of illegality and fraud in the conduct of the
 5
           election. That some people had advised the former President that there was no
 6
           such evidence cannot meet the “preponderance” standard if there is more evidence
 7

 8         that there was illegality or fraud. Or, to put it in the terms used by the Supreme
 9
           Court in Zolin, the Select Committee’s assertion of the crime-fraud exception
10
           would not be in “good faith” if it was sitting on evidence that contradicted it.
11
12      8. In the face of the Select Committee’s continued assertion of a crime-fraud
13
           exception, Plaintiff therefore requests that he be permitted to serve on the Select
14
15
           Committee a limited number of requests for admission, interrogatories, and

16         requests for documents narrowly tailored to this specific issue. The Select
17
           Committee need not avail itself of the normal 30 days in which to respond to
18
19         discovery requests, but can reply on an expedited basis. Plaintiff will then review

20         the materials on an expedited basis and prepare its opening brief based on that
21
           review, and proposes a deadline of 10-14 days after receipt of the Select
22
23         Committee’s discovery responses.

24                For the foregoing reasons, Plaintiff respectfully requests that this Court
25
     extend the deadline to submit a consolidated privilege log until Thursday May 12 at
26
27 4pm PDT and for this Court to authorize reasonable discovery to resolve the remaining
28 disputed issues..
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 1 May 10, 2022                            Respectfully submitted,
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 1
 2                                  CERTIFICATE OF SERVICE

 3      I hereby certify that a copy of this filing has been served on opposing counsel by ecf.

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